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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           Case No: 1:12-CR-00035-DAD-BAM-1

12                      Plaintiff,
13          v.                                           STIPULATION AND ORDER TO
                                                         CONTINUE SENTENCING
14   BONNIE LYNN RECINOS,
15                      Defendant.
16

17          Defendant by and through her counsel of record and Plaintiff by and through its counsel of

18   record, hereby stipulate as follows:

19          1. By previous order, this matter was set for a sentencing hearing on Monday, March

20   20, 2017, at 10 a.m.

21          2. By this stipulation, the parties now move to continue the sentencing date to April 10,

22   2017, at 10:00 a.m.

23          3. The parties agree and stipulate and request that the court grant the continuance due to

24   more time is needed to prepare the amended presentence report. Therefore, she is requesting her

25   sentencing be continued to April 10, 2017, at 10:00 a.m.

26   DATED: March 6, 2017

27                                                        /s/Barbara Hope O’Neill
                                                          BARBARA HOPE O’NEILL
28                                                        Attorney for Bonnie Lynn Recinos
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     Case 1:12-cr-00035-DAD-BAM Document 101 Filed 03/06/17 Page 2 of 2


 1   DATED: March 6, 2017                                 /s/Henry Z. Carbajal, III
                                                          HENRY Z. CARBAJAL, III
 2                                                        Assistant United States Attorney

 3

 4                                               ORDER

 5          The Court has reviewed and considered the stipulation of the parties to continue the

 6   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named

 7   defendant currently scheduled for March 20, 2017, is continued until April 10, 2017, at 10:00

 8   a.m. in Courtroom 5 before District Judge Dale A. Drozd.

 9   IT IS SO ORDERED.
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        Dated:    March 6, 2017
11                                                       UNITED STATES DISTRICT JUDGE

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